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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

In re Terrorist Attacks on September 11, 2001 03-md-1570 (GBD)(SN)

This document relates to:
Justin Strauss, et al. v. Islamic Republic of Iran, No. 1:22-cv-10823 (GBD)(SN)

AFFIDAVIT OF SERVICE

STATE OF NEW YORK
: SS,
COUNTY OF NEW YORK :

TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF NEW YORK

Jerry S. Goldman, Esq., an attorney at law duly admitted before the Courts of the State of
New York, being duly sworn, hereby deposes and says that:

1. Plaintiffs’ Summons, Complaint, and Notice of Suit, and translations of each, filed
in the above-captioned matter, were served upon defendant Islamic Republic of Iran.

Ds Service was effectuated upon the Iranian Ministry of Foreign Affairs as transmitted
by the Foreign Interests Section of the Embassy of Switzerland in Tehran on May 23, 2023, in
accordance with the Foreign Sovereign Immunities Act, 28 U.S.C. § 1608, ef seq. True and correct
copies of the Return of Service and supporting U.S. Department of State documents, provided in a
cover letter from Jared Hess to Ruby J. Krajick dated June 27, 2023, are attached hereto as
Exhibit A.

3h A copy of the Clerk of the Court’s transmittal to the State Department, pursuant to
Foreign Sovereign Immunities Act, 28 U.S.C. § 1608, et seq., made at my request and after
payment of the requisite fees as set forth in the Clerk’s Certificate of Mailing, ECF No. 14, dated

February 27, 2023, is attached hereto as Exhibit B.

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4, Receipt of transmittal by the State Department was acknowledged by the Clerk of
the Court on the docket on July 20, 2023.

I declare under penalty of perjury under the laws of the United States of America that the
foregoing information contained herein is true and correct.
Dated: July 27, 2023

if

ee]
Jerry S. Goldman/Esq.

Sworn on before me this Zt h /
day of July, 2023.

Phy bleh C auc

Notary Public
w/

PHYLLIS J. CRUISE
NOTARY PUBLIC, State of New York
No. 01CR4904891
Qualified in Bronx County -
Commission Expires Oct. 5. 2025

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